 1 [Counsel Signatures Appear at the End]

 

 

 

 

 

 

                              UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA

                                   SAN FRANCISCO DIVISION

 WAYMO LLC,
                                                    Case No. 3:17-cv-00939-WHA
                      Plaintiff,
                                                    JOINT REQUEST AND [PROPOSED]
               v.                                ORDER REGARDING COURTROOM
                                                    EQUIPMENT
 UBER TECHNOLOGIES, INC.,
    OTTOMOTTO LLC; OTTO TRUCKING                    Judge: The Honorable William Alsup
 LLC,                                            Trial Date: February 5, 2018

                      Defendants.























  
                                                3                 CASE NO. 3:14-CV-03985-JD
             REQUEST AND [PROPOSED] ORDER REGARDING COURTROOM EQUIPMENT
 1          Plaintiff Waymo LLC and Defendants Uber Tecnologies, Inc., Ottomotto LLC, Otto

 2 Trucking (“Parties”) hereby respectfully request permission to bring the equipment listed below

 3
     into Courtroom 8 on Friday, February 2, 2018 at 2:00 PM (as previously arranged with Deputy
 4
     Clerk), and use the equipment for the duration of trial beginning on February 5, 2018.
 5
        1. 4 Tech tables
 6
        2. 3 A/V Stands
 7

 8      3. 3 video switches

 9      4. 3 video splitters
10      5. 4 LCD monitors
11
        6. 2 small carts
12
        7. Rolling carts
13
        8. 4 small printers
14

15      9. 2 portable scanners

16      10. 1 speaker system

17      11. 1 projector
18      12. 1 projection screen
19
        13. ELMO Projector
20
        14. Computer peripherals (i.e. portable external hard drives)
21
        15. Boxes of documents to lodge with the Court (original deposition transcripts and trial
22

23          exhibits), as well as boxes of documents for each party to use during trial

24

25

26
27

28

                                                      -2                 CASE NO. 3:14-CV-03985-JD
               REQUEST AND [PROPOSED] ORDER REGARDING COURTROOM EQUIPMENT
 1 Dated: 1/25/2018
                                        QUINN EMANUEL URQUHART & SULLIVAN,
                                      LLP

 
                                        By: /s/ Charles K. Verhoeven
                                          CHARLES K. VERHOEVEN
                                             Attorneys for Plaintiff
                                               WAYMO LLC
 
      Dated: 1/25/2018                  MORRISON & FOERSTER LLP
 

 
                                        By: /s/ Arturo J. González
                                          ARTURO J. GONZÁLEZ
                                            Attorneys for Defendants
                                               UBER TECHNOLOGIES, INC.
                                            and OTTOMOTTO LLC
































  
                                           3                    CASE NO. 3:14-CV-03985-JD
               REQUEST AND [PROPOSED] ORDER REGARDING COURTROOM EQUIPMENT
                  1                            ATTESTATION OF E-FILED SIGNATURE
                  2 I, Charles K. Verhoeven, am the ECF User whose ID and password are being used to file this Joint

                  3 Request and [Proposed] Order Regarding Courtroom Equipment.             In compliance with General

                  4 Order 45, X.B., I hereby attest that Arturo J. González has concurred in this filing.

                  5

                  6 January 25, 2018

                  7                                                    /s/ Charles K. Verhoeven
                                                                        CHARLES K. VERHOEVEN
                  8

                  9

                 10

                 11

                 12

                 13

                 14

                 15

                 16

                 17

                 18
                 19

                 20

                 21

                 22

                 23

                 24

                 25

                 26
                 27

                 28

01980-00104/9821015.2
                                                                                          CASE NO. 3:14-CV-03985-JD
                  1

                  2

                  3

                  4

                  5

                  6

                  7

                  8

                  9                                 UNITED STATES DISTRICT COURT

                 10                               NORTHERN DISTRICT OF CALIFORNIA

                 11                                       SAN FRANCISCO DIVISION

                 12 WAYMO LLC,
                                                                        Case No. 3:17-cv-00939-WHA
                 13                          Plaintiff,
                                                                        JOINT REQUEST AND [PROPOSED]
                 14                   v.                                ORDER REGARDING COURTROOM
                                                                        EQUIPMENT
                 15 UBER TECHNOLOGIES, INC.,
                    OTTOMOTTO LLC; OTTO TRUCKING                        Judge: The Honorable William Alsup
                 16 LLC,                                                Trial Date: February 5, 2018

                 17                          Defendants.

                 18
                 19
                               Plaintiff Waymo LLC and Defendants Uber Tecnologies, Inc., Ottomotto LLC, Otto
                 20
                        Trucking (“Parties”) have filed a Joint Request Regarding Courtroom Equipment (“Request”).
                 21
                               Having considered the Request, the Court GRANTS Parties Request.
                 22

                 23
                               IT IS SO ORDERED.
                 24

                 25
                        Dated: ______________, 2018
                 26
                                                              HON. WILLIAM ALSUP
                 27                                           United States District Court Judge
                 28

01980-00104/9821015.2
                                                                                        CASE NO. 3:14-CV-03985-JD
